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To Whom It May Concern
I have been a friend of the family for many years.
I have done a lot of business with his father and Oren. I know Oren for many years and I have
seen him working hard and growing inside the community. He has been involved in many
philanthropic events, always trying to help and give back to the community.
I talked with Oren in several occasions before his arrest and his only goal was to fight these very
serious allegations and clear his name. I don’t think that he would ever leave his mother Orly or
his father Shlomy behind and flee to Israel or some other country. He would have done it
already. Their entire life is here. His family came here long time ago and they worked very hard
to be successful and respected in their community. Their business is based on trust and word of
honor and that is what they have taught their children to do since born.
I know his wife Kamila who recently gave birth to a beautiful little boy. As a new father of a 3
months old little girl I can only imagine what Kamila is going through with a newborn and
without the presence of her husband Oren next to her.
I was yesterday at his parents house during his newborn’s bris. I saw the sadness on all these
people’s eyes, they were there to support the family.
I believe in the American dream and I believe in our American Justice.
Everyone should have a fair chance and his day in court to defend himself and his family name.
Please allow Oren to spend his time next to his wife and son while he’s preparing for the biggest
fight of his life, to clear his name form all the allegations.
Thank you so much.
